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                                   UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                    Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT

Docket Number(s): 24-3296                                                                        Caption [use short title]

Motion for: Removal of Appeal from Expedited Appeals                        In re: Oral Phenylephrine Marketing and Saleg
Calendar and to Set Briefing Schedule (Joint)                               Practices Litigation


Set forth below precise, complete statement of relief sought:
(1) Removal of this appeal from the Court's Expedited

Appeals Calendar and 2) to set a briefing schedule




MOVING PARTY: Appellants and Appellees (Joint Motion) OPPOSING PARTY: Joint Motion

          □ Plaintiff                 □ Defendant
         IiiAppellant/Petitioner IiiAppellee/Respondent
MOVING ATTORNEY: Andrew Soukup                                     OPPOSING ATTORNEY: Jonathan Selbin
                                 [name of attorney, with firm, address, phone number and e-mail]
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Court- Judge/ Agency appealed from: Eastern District of New York (Cogan, J.)

Please check appropriate boxes:                                           FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                          INJUCTIONS PENDING APPEAL:

          IiiYes    □
 Has movant notified opposing counsel (required by Local Rule 27.1):
                       No (explain): ---                                   Has this request for relief been made below?
                                                                           Has this relief been previously sought in this court?  BB
                                                                                                                                 Yes
                                                                                                                                 Yes
                                                                                                                                     No
                                                                                                                                     No

                                                                           Requested return date and explanation of emergency:

Opposing counsel’s position on motion:
          Iii
            Unopposed      □ Opposed     □Don’t Know
Does opposing counsel intend to file a response:
        □ Yes _No    [l]       □Don’t Know



Is the oral argument on motion requested?        □ Yes Ii] No (requests for oral argument will not necessarily be granted)

Has the appeal argument date been set?           □ Yes Ii] No If yes, enter date:
Signature of Moving Attorney:
      Isl Andrew Soukup                      Date: January 10, 2025           Service :   Iii Electronic □ Other [Attach proof of service]
Form T-1080 (rev. 10-23)
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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SECOND CIRCUIT
                               ________________________________

                                       No. 24-3296
                               ________________________________


      In Re: Oral Phenylephrine Marketing and Sales Practices Litigation

                               ________________________________



 JOINT MOTION FOR REMOVAL OF APPEAL FROM EXPEDITED
    APPEALS CALENDAR AND TO SET BRIEFING SCHEDULE

      Pursuant to Federal Rule of Appellate Procedure 27 and Local Rules 27.1(f)

and 31.2(b)(2), Plaintiffs-Appellants and Defendants-Appellees jointly move for the

removal of this appeal from the Court’s Expedited Appeals Calendar (“XAC”), and

to set a new briefing schedule.

      On January 2, 2025, the Clerk of the Court issued a Notice of Expedited Ap-

peal. Dkt. No. 16. That schedule set February 6, 2025 as the deadline for Plaintiffs-

Appellants’ opening brief and March 13, 2025 as the deadline for Defendants-Ap-

pellees’ response brief. Id.

      Local Rule 31.2(b)(2) provides that, “promptly” after the Clerk notifies the

parties that a case has been placed on the XAC, any party, “for good cause shown,

may move to remove the case from the XAC.”

      Plaintiffs-Appellants and Defendants-Appellees have met-and-conferred and

jointly and respectfully submit that good cause exists for removing this appeal from
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the XAC. First, the number of parties involved in this appeal, and the time and effort

needed to coordinate amongst the relevant entities on both sides of this appeal, ren-

der this case poorly suited for the XAC. This appeal stems from an order dismissing

all claims in an industry-wide MDL which consolidated nearly 100 cases brought by

various plaintiffs across the country with separate counsel and filed against multiple

defendants. 1 As in the district court, the parties will endeavor to brief and argue this

case as efficiently as possible. But given the sheer numbers of entities and their

counsel involved, Plaintiffs-Appellants and Defendants-Appellees both require ad-

ditional time to coordinate their efforts among their respective sides. The expedited

briefing schedule set forth in the Notice of Expedited Appeal will therefore cause

hardship for Plaintiffs-Appellants and Defendants-Appellees alike.

      Second, this appeal does not involve the type of dismissal for which the XAC

was designed. See Hon. Jon O. Newman, Report: The Second Circuit's Expedited

Appeals, 80 BROOK. L. REV. 429, 429–30 (2015) (explaining that the Court’s expe-

dited appeals calendar was created in response to the more rigorous pleading

standards required by the Supreme Court so that cases in which the new pleading

standards were misapplied could be returned more quickly to the district court).

While this appeal is from a judgment dismissing for failure to state a claim, that



1
 The operative complaint that is the subject of this appeal was filed against fifteen
defendants.

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dismissal was based on the resolution of legal questions—namely, the district court’s

holding that Plaintiffs’ state-law claims were expressly preempted by federal law

and that Plaintiffs’ RICO claims were barred by the indirect purchaser rule—rather

than a failure to plead sufficient facts.

      For the foregoing reasons, Plaintiffs-Appellants and Defendants-Appellees

submit that good cause exists to remove this case from the XAC.

      If this case is removed from the XAC, Plaintiffs-Appellants and Defendants-

Appellees respectfully request that the Court enter the following briefing schedule:

          • Plaintiffs-Appellants’ Brief: March 12, 2025

          • Defendants-Appellees’ Brief: May 16, 2025

          • Plaintiffs-Appellants’ Reply Brief: June 16, 2025

 DATED: January 10, 2025                        Respectfully submitted:



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                         CERTIFICATE OF COMPLIANCE
      This motion complies with the type-volume limitations of Fed. R. App. P.

27(d)(2)(A) because it contains 480 words, exclusive of the portions exempted by

Fed. R. App. P. 32(f).


January 10, 2025                                /s/ Andrew Soukup
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                         CERTIFICATE OF SERVICE
      I hereby certify that on January 10, 2025, I filed and served the foregoing with

the Clerk of the Court by causing a copy to be electronically filed via the appellate

CM/ECF system. I also hereby certify that the participants in the case are registered

CM/ECF users and will be served via the CM/ECF system.


January 10, 2025                               /s/ Andrew Soukup
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